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                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

IN RE: Gallegos, Rachel P.                                                       CASE NO. 22-30041


                                           Uniform Plan and
                                    Motion for Valuation of Collateral

                                           2ND [AMENDED] CHAPTER 13 PLAN
                                          Date of Plan:         01/31/2022
                                   [Date Must be Date that This Plan is Signed by Debtors]
                                            Amended Date:             6/13/2022

1.   Statement of Inclusion of Specific Provisions. The Debtor(s) propose this Plan pursuant to 11 U.S.C. § 1321. The
Debtor(s) disclose whether this Plan includes certain provisions by checking the appropriate box:

                              Description of Provision                                       Included           Not
                                                                                                             Included
 A. A “non-standard” provision contained in Paragraph 29.                                       ❑                ✔
                                                                                                                 ❑
                                                                                                                 ✔
 B. A provision limiting the amount of a secured claim based on a valuation of the
 collateral for the claim in Paragraph 11 or 14.                                                ❑                ❑
 C. A provision avoiding a security interest or a lien in Paragraph 8(C).                       ❑                ✔
                                                                                                                 ❑
 D. A provision avoiding a security interest or lien in exempt property in Paragraph            ❑                ✔
                                                                                                                 ❑
 15.

2.    Summary Attached. Attached as Exhibit “A” is a summary of the payments to the Chapter 13 Trustee (“Trustee”)
and the estimated disbursements to be made by the Trustee under this Plan.

3.     Motion for Valuation of Secured Claims. If indicated in Paragraph 1B of this Plan, the Debtor(s) move to establish
the value of the collateral securing claims in the amount set forth in Paragraphs 11 and 14. The Debtor(s) propose to pay
the holder of the Secured Claim only the amounts set forth in the Debtor(s)’ Plan. The Court will conduct an
evidentiary hearing on this contested matter on the date set for the hearing on confirmation of the Debtor(s)’ Plan.
You must file a response in writing not less than 7 days (including weekends and holidays) before the hearing on
confirmation of the Plan or the valuation set forth in the Plan may be adopted by the Court. If no timely response is
filed, the Debtor(s)’ sworn declaration at the conclusion of this Plan will be considered as summary evidence at the
confirmation hearing.

4.    Payments. The Debtor(s) must submit all or such portion of their future earnings and other future income to the
supervision and control of the Trustee as is necessary for the execution of the Plan. The applicable commitment period
under the Debtor(s)’ means test is     36     months (use “unavailable” if a means test has not been filed). The amount,
frequency, and duration of future payments to the Trustee are:

    Beginning             Ending        Total Amount       Monthly        Total      Monthly         Total
     Month1               Month          of Monthly      Savings Fund   Forecast   Available for Available for
                                          Payment2         Deposit    Savings Fund Creditors and Creditors and
                                                                        Deposits     Reserve       Reserve
                                                                                      Funds 3       Funds

   1 (Feb/2022)       12 (Jan/2023)         $4,750.00             $0.00              $0.00      $4,750.00      $57,000.00
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     Beginning               Ending           Total Amount           Monthly        Total      Monthly         Total
      Month1                 Month             of Monthly          Savings Fund   Forecast   Available for Available for
                                                Payment2             Deposit    Savings Fund Creditors and Creditors and
                                                                                  Deposits     Reserve       Reserve
                                                                                                Funds3        Funds

   13 (Feb/2023)         60 (Jan/2027)            $10,500.00                  $0.00                $0.00         $10,500.00         $504,000.00
                                                 Grand Total:                                      $0.00                            $561,000.00


     1 This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not later than 30 days after the

     petition date.

     2 The total amount of monthly payment includes savings and reserves.

     3 Reserve funds are funds established under Paragraph 23 of this Plan.


    A.    If the payments to be made by the Trustee pursuant to Paragraphs 8(A)(ii) or 11(D) are adjusted in accordance
with the Home Mortgage Payment Procedures defined and adopted pursuant to Bankruptcy Local Rule 3015-1(b)
(whether on account of a change in any escrow requirement, a change in the applicable interest rate under an adjustable
rate mortgage, or otherwise) or in accordance with the procedures set forth in Paragraphs 20(E) or 23(B), the payments to
the Trustee under this Plan will be modified as follows:
   (i) The Debtor(s)’ payments required by Paragraph 4 of this Plan will be automatically increased or decreased by (i)
   the amount of the increase or decrease in the Paragraph 8(A)(ii), 11(D), 20(E) or 23(B) payments; and (ii) the amount
   of the increase or decrease in the Posted Chapter 13 Trustee Fee that is caused by the change.
   (ii) The Posted Chapter 13 Trustee Fee is the percentage fee established by the Court and posted on the Court’s
   web site from time to time4.

     4 The Posted Chapter 13 Trustee Fee does not alter the amount of the actual trustee fee established under 28 U.S.C. § 586(e)(1).


   (iii) If a change pursuant to Paragraph 4(C), 8(a)(ii), 11(D), 20(E) or 23(B) is made and the monthly payment
   adjustment multiplied by the number of remaining months in the Plan is less than $100, the payment adjustments
   required by Paragraph 4(A) will not be made.

   B.   If a Notice of Plan Payment Adjustment is required by Paragraph 8(a)(iii), the Debtor(s)' payments required by
Paragraph 4 of this Plan will be automatically increased by the amount of the adjustment.

    C.    Subject to an Order to the contrary, if the on-going monthly mortgage payment referenced in a timely filed proof
of claim differs from the on-going monthly mortgage payment scheduled in this Plan, the Trustee shall adjust the plan
payment in order to reflect the on-going monthly mortgage payment amount provided for in the proof of claim.

    D.    If a secured or priority proof of claim is not timely filed, the amounts scheduled in this Plan will govern. If a
secured or priority proof of claim is timely filed after confirmation of this Plan, the amounts shown on the timely filed proof
of claim will govern. The procedures in Paragraph 4(C) govern monthly mortgage payment amounts.

   E.   In the event of a change in the monthly payment to the Trustee under this Plan, the Trustee is directed to submit
an amended wage withholding order or to amend any automated bank draft procedure to satisfy the automatic increase or
decrease. The Debtor(s) must implement any appropriate amendments to any other form of payment.




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Case No:
Debtor(s): Gallegos, Rachel P.

    F.   Nothing in this Paragraph 4 precludes the Trustee from seeking to dismiss a case based on a timely filed proof of
claim that renders this Plan deficient.

5.    Priority Claims for Domestic Support Obligations. From the payments made by the Debtor(s) to the Trustee, the
Trustee shall pay in full all claims entitled to priority under 11 U.S.C. § 507(a)(1). If a timely proof of claim is filed, the
actual amount of the Domestic Support Obligation will be determined through the claims allowance process. Otherwise,
the amount scheduled in this Plan will control:

     Name of Holder of Domestic Support       Claim      Interest Rate Under      Amount of        First           Last      Total
                 Obligation                                      Plan             Estimated     Payment of      Payment of
                                                                                   Periodic    this Amount     this Amount
                                                                                   Payment       in Mo. #        in Mo. #


6.         Priority Claims (Other than Domestic Support Obligations.)

    From the payments made by the Debtor(s) to the Trustee, the Trustee shall pay in full all claims entitled to priority
under 11 U.S.C. §§ 507(a)(2) through 507(a)(10). If a timely proof of claim is filed, the actual amount of the Priority Claim
will be determined through the claims allowance process. Otherwise, the amount scheduled in this Plan will control:

      A.

      Name of Holder of Priority Claim    Amount of     Interest Rate Under       Amount of        First           Last      Total
                                           Priority             Plan               Periodic     Payment of      Payment of
                                            Claim                                  Payment     this Amount     this Amount
                                                                                                 in Mo. #        in Mo. #

 The Pope Law Firm                          $3,000.00                   0.00%       Pro-Rata        1              2         $3,000.00

 INTERNAL REVENUE SERVICE                   $3,129.00                   0.00%       Pro-Rata        2              59        $3,129.00

 The Pope Law Firm - ANTICIPATED            $1,500.00                   0.00%       Pro-Rata        1              2         $1,500.00
 FEES


   B.     Priority Claims arising under 11 U.S.C. § 503(b)(2) shall be paid only after entry of an order by the Bankruptcy
Court approving payment of the claim. If this case is dismissed, no Priority Claim arising under 11 U.S.C. § 503(b)(2) shall
be allowed unless an application for allowance is filed on or before 21 days after entry of the order of dismissal, and such
application is subsequently granted by the Court.

7.    Secured Claims for which Collateral is Surrendered. The Debtor(s) surrender the following collateral under this
Plan:

                       Name of Creditor                                                Description of Collateral

 U.S. Bank, NA as Indenture Trustee for VCC 2020-MC      7844 Ford St. Houston, TX 77012

 U.S. Bank, NA as Indenture Trustee for VCC 2020-MC      7802 Ford St. Houston, TX 77012

 PNC Bank, National Association                          Certificate of Deposit

 Internal Revenue Service                                Right to Set off




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   A.     Upon confirmation of this Plan, the Debtor(s) surrender the collateral and the automatic stay under 11 U.S.C. §
362(a) is terminated as to actions against any (i) collateral that is described in the preceding table; and (ii) escrow deposit
held by the holder of a security interest to secure payment of taxes and insurance. The automatic stay is not terminated
under this Paragraph as to any other action. The co-debtor stay under 11 U.S.C. § 1301(a) is terminated with respect to
the collateral identified in the preceding table.

    B.    Other than terminating the co-debtor stay, this Plan does not affect any codebtor’s rights in the collateral or the
obligation of any secured creditor to act with respect to such a co-debtor in compliance with applicable non-bankruptcy
law.

   C.    The Debtor(s) and the creditor asserting a security interest against the collateral must comply with Bankruptcy
Local Rule 6007-1 with respect to the surrender of the collateral.

    D.   The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with the creditor’s
allowed unsecured claim in any timely filed proof of claim; or (ii) by separate Court order

8.   Secured Claim for Claim Secured Only by a Security Interest in Real Property that is the Debtor(s)’ Principal
Residence (Property to be Retained). For each such claim, utilize either A, B, or C, below:

✔
❑       A.    This table sets forth the treatment of certain classes of secured creditors holding a claim secured only by a
        security interest in real property that is the Debtor(s)’ principal residence located at
        2210 Briarstone Bluff Crossing Houston, TX 77089 .

 Name of Holder of Secured Claim        Claims            Plan        Monthly Payment Amount       Starting   Ending     Total
 /                                                      Interest                                   Month #    Month #
 Security for Claim                                       Rate       P&I       Escrow    Total

 U.S. Bank, NA as Indenture Trustee for VCC 2020-MC

 Security for Claim
 2210 Briarstone Bluff Crossing Houston, TX 77089

 Cure Claim6

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7

 Total Debt Claim                    $416,758.55      5.00%         Pro-Rata            Pro-Rata      2         59      $475,624.53

 HARRIS COUNTY-BRAZORIA MUD #509

 Security for Claim
 2210 Briarstone Bluff Crossing Houston, TX 77089

 Cure Claim6

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7

 Total Debt Claim                    $4,054.13        12.00%        Pro-Rata            Pro-Rata      2         59        $5,547.53

 PASADENA INDEPENDENT SCHOOL DISTRICT

 Security for Claim
 2210 Briarstone Bluff Crossing Houston, TX 77089




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Case No:
Debtor(s): Gallegos, Rachel P.


 Name of Holder of Secured Claim             Claims            Plan             Monthly Payment Amount               Starting     Ending             Total
 /                                                           Interest                                                Month #      Month #
 Security for Claim                                            Rate            P&I         Escrow         Total

 Cure Claim6

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7

 Total Debt Claim                         $6,981.55        12.00%            Pro-Rata                   Pro-Rata         2            59             $9,553.31

 City of Pearland

 Security for Claim
 2210 Briarstone Bluff Crossing Houston, TX 77089

 Cure Claim6

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7

 Total Debt Claim                         $3,317.57        12.00%            Pro-Rata                   Pro-Rata         2            59             $4,539.65

 Harris County et al.

 Security for Claim
 2210 Briarstone Bluff Crossing Houston, TX 77089

 Cure Claim6

 Rule 3002.1(c) Amount

 Monthly Mtg. Payment7

 Total Debt Claim                         $7,380.71        12.00%            Pro-Rata                   Pro-Rata         2            59            $10,110.80



      6 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the

      term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a monthly
      mortgage payment; (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Mortgage Payment. The amount shown as
      “Cure Claim” should be equal to the total of all amounts required to cure the mortgage.

      7 Including principal, interest, and escrow.


         (i) Payment of these amounts will constitute a cure of all defaults (existing as of the petition date) of the
         Debtor(s)’ obligations to the holder of the secured claim.




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        (ii) A claim secured only by a security interest in real property that is the Debtor(s)’ principal residence (other
        than the Cure Claims or Total Debt Claim set forth in the above table) will be paid in accordance with the
        pre-petition contract. The claim includes all amounts that arise post-petition and that are authorized pursuant to
        FED. R. BANKR. P. 3002.1. During the term of the Plan, these payments will be made through the Trustee in
        accordance with the Home Mortgage Payment Procedures adopted pursuant to Bankruptcy Local Rule 3015-1(b).
        Each holder of a claim that is paid pursuant to this Paragraph must elect to either (i) apply the payments received
        by it to the next payment due without penalty under the terms of the holder’s pre-petition note; or (ii) waive all late
        charges that accrue after the order for relief in this case. Any holder that fails to file an affirmative election within 30
        days of entry of the order confirming this Plan has waived all late charges that accrue after the order for relief in this
        case. Notwithstanding the foregoing, the holder may impose a late charge that accrues following an event of
        default of a payment due under Paragraph 4 of this Plan.
        (iii) Except as otherwise ordered by the Court, any amounts due as a result of the filing of a Rule 3002.1(c)
        Notice shall be paid after payment of all other secured and priority claims, but before payment of all general
        unsecured claims. If the payment of the amounts due under a Rule 3002.1(c) Notice would render the Plan
        deficient because of a shortfall of available funds, the Trustee must file a Notice of Plan Payment Adjustment to
        provide sufficient funds to pay all secured and priority claims in full.
        (iv)     Each claim secured by a security interest is designated to be in a separate class.
        (v) The Debtor(s) must timely provide the information required by the Trustee pursuant to the Home Mortgage
        Payment Procedures.

❑     B.     The holder of the claim secured only by a security interest in real property that is the Debtor(s)’ principal
residence has agreed to refinance the security interest or lien and claim on the terms set forth on the document attached
as Exhibit “B”. The refinancing brings the loan current in all respects. The terms of the loan that is being refinanced and
the new loan are described below:

                                                                              Old Loan                        New Loan

 Current amount owed on old loan and total amount borrowed on new loan                      $0.00                             $0.00

 Interest rate is fixed or variable?

 Interest rate (in %)                                                                      0.00%                             0.00%

 Closing costs paid by Debtor(s)                                                            $0.00                             $0.00

 Monthly principal and interest payment                                                     $0.00                             $0.00

 Monthly required escrow deposit                                                            $0.00                             $0.00

 Total monthly payment of principal, interest and escrow                                    $0.00                             $0.00

    (i) Upon confirmation of this Plan, the Debtor(s) are authorized to execute conforming documents with the holder of
    the security interest or lien.
    (ii) Payments made to the above referenced holder will be paid (check one, only if Debtor(s) have checked option
    B, above):

        ❑       Through the Trustee.




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        ❑ Directly to the holder of the claim, by the Debtor(s). The holder of the claim may not impose any attorney’s
    fees, inspection costs, appraisal costs or any other charges (other than principal, interest and ad valorem tax and
    property insurance escrows) if such charges arose (in whole or in part) during the period (i) when the case is open; (ii)
    after the closing of the refinanced loan; and (iii) prior to a modification of this Plan (i.e., following a default by the
    Debtor(s) in payments to the holder of the claim) pursuant to which the Debtor(s) commence payments through the
    Trustee to the holder of the claim secured solely by a security interest or lien on in the Debtor(s)’ principal residence. If
    the Debtor(s) default in direct payments following the refinancing, a proposed modification of this Plan must be filed.

❑     C.    The following table sets forth the treatment of certain classes of secured creditors holding a claim secured
only by a security interest in real property that is the Debtor(s)’ principal residence.

 Name of Holder of Lien to which this provision applies
 Address of Principal Residence
 Debtor(s)’ Stated Value of Principal Residence
 Description of all Liens Senior in Priority (List Holder and      Estimated Amount Owed on
 Priority)                                                         This Lien




 Total Owed—All Senior Liens

     (i)   The Debtor(s) allege that the total amount of debt secured by liens that are senior in priority to the lien held by
                                 exceeds the total value of the principal residence. Accordingly, the claim will receive (i) no
     distributions as a secured claim; and (ii) distributions as an unsecured claim only in accordance with applicable law.
     (ii) Upon the Debtor(s)’ completion of all payments set forth in this Plan, the holder of the lien is required to
     execute and record a full and unequivocal release of its liens, encumbrances and security interests secured by the
     principal residence and to provide a copy of the release to the Debtor(s) and their counsel. Notwithstanding the
     foregoing, the holder of a lien that secures post-petition homeowners’ association fees and assessments will be
     allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii) other post-petition amounts, such
     as legal fees, if such other post-petition amounts are (a) incurred with respect to post-petition fees and assessments;
     and (b) approved by the Court, if incurred during the pendency of the bankruptcy case.
     (iii)     This Paragraph 8C will only be effective if the Debtor(s) perform each of the following:
             (a)   Mail a “Lien Stripping Notice,” in the form set forth on the Court’s website, to the holder of the lien
                   that is governed by this Paragraph 8C. The Lien Stripping Notice must be mailed in a separate
                   envelope from any other document. Service must be in a manner authorized by FED. R. BANKR. P.
                   7004.
             (b)   File a certificate of service at least 7 days prior to confirmation reflecting that the Lien Stripping
                   Notice was mailed by both certified mail, return receipt requested and by regular US mail to the
                   holder of the lien on all of the following, with the mailings occurring not later than 31 days prior to the
                   hearing on this Plan:
                   The holder at the address for notices shown on any proof of claim filed by the holder and in accordance
                   with FED. R. BANKR. P. 7004.




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                      Any attorney representing the holder who has filed a request for notice in this bankruptcy case.
       (iv) Third party costs incurred on behalf of the Debtor(s) such as the costs of performing a title or lien search or
       serving the motion and notices will be borne by the Debtor(s). If such third party costs are advanced by Debtor(s)’
       counsel, the Debtor(s) must promptly reimburse such costs, without the need for any further application or order.

9.     Debt Incurred (a) within 910 Days Preceding Petition Date and Secured by a Lien on a Motor Vehicle or (b)
within 1 Year Preceding Petition Date and Secured by Other Collateral for Which Full Payment, with Interest, is
Required by 11 U.S.C. § 1325(a)(9) (hanging Paragraph). The following table sets forth each class of creditors holding a
claim for a debt incurred within 910 days preceding the petition date and secured by a security interest on a motor vehicle
or for a debt incurred within 1 year preceding the petition date and secured by a security interest on other collateral for
which full payment is required by 11 U.S.C. § 1325(a)(9) (hanging Paragraph).

 Name of Holder of Secured Claim                                      Claim             Plan          Monthly         Starting     Ending             Total
 Security for Claim                                                                   Interest        Payment         Month #      Month #
                                                                                        Rate          Amount



       8 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the

       term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly
       Contract Payment; (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.

   A.     Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this
Plan is confirmed) of the Debtor(s)’ obligations to the holder of the claim. If the monthly payment in the proposed Plan is
less than the amount of the adequate protection payment ordered in this case, the actual payment will be the amount of
the monthly adequate protection payment.

      B.     Each claim secured by a security interest is designated to be in a separate class.

10.        Secured Debts on Which There is No Default and to be Paid Directly by the Debtor(s).

   A.      The claims held by the following secured creditors will be paid by the Debtor(s) (and not paid through the
Trustee) in accordance with the pre-petition contracts between the Debtor(s) and the holder of the claim secured by a
security interest:

 Name of Holder                              Total Claim on            Collateral Value on        Contract Interest        Monthly         Date Last Payment
 Collateral for Claim                         Petition Date              Petition Date                 Rate                Payment               is Due


      B.     Each claim secured by a security interest is designated to be in a separate class.

11.   Other Secured Claims (Property to be Retained). Payments on these claims will be made through the Trustee.
The secured claims treated by this Paragraph are in the following table:

 Name of Holder of           Claims         Collateral          Plan             Monthly Payment Amount               Starting     Ending             Total
 Secured Claim                               Value            Interest                                                Month #      Month #
 Security for Claim                                             Rate            P&I        Escrow9         Total




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       9 Only applicable if an escrow for ad valorem taxes or property insurance has been required by the holder of the security interest. If the collateral

       is a vehicle or other personal property, the “Escrow” amount should be $0.00.
       10 In this Plan, a “Cure Claim” is the amount required to cure any existing default. A “Total Debt Claim” is a claim that will be fully paid during the

       term of the proposed Plan. As to each claim secured by a security interest, the Debtor(s) must propose either (i) a Cure Claim and a Monthly
       Contract Payment; (ii) a Total Debt Claim; or (iii) in cases in which there is no Cure Claim, a Monthly Contractual Payment.

   A.     The amount of secured claim to be paid under this Plan is the lesser of the amount listed above as the
“Collateral Value” and the allowed amount of the claim. If a timely proof of claim is filed, the amount of the claim will be
determined through the claims allowance process. Otherwise, the amount scheduled in this Plan will control. If the Court
orders a different amount than is shown above as “Collateral Value,” the Plan shall be deemed amended to reflect that
Collateral Value without the requirement of the filing of an amended Plan.

   B.    The amount listed as “Escrow” will be adjusted to reflect 1/12th of the annual ad valorem taxes and property
insurance that is escrowed. If there is an escrow shortage (for a RESPA Reserve or otherwise), the shortage is included in
the Cure Claim listed above.

   C.     Payment of the amounts required in this section constitutes a cure of all defaults (existing as of the date this
Plan is confirmed) of the Debtor(s)’ obligations to the holder of the secured claim. If the monthly payment in the proposed
Plan is less than the amount of the adequate protection payment ordered in this case, the actual payment will be the
amount of the monthly adequate protection payment.

   D.    If the pre-petition loan documents include a provision for an escrow account, the actual monthly payment is
adjustable only in accordance with this Paragraph. The Home Mortgage Payment Procedures must be followed, even
though the claims treated in this Paragraph are not secured by the Debtor(s)’ principal residence.

      E.     Each claim secured by a security interest is designated to be in a separate class.

12.     Modification of Stay and Lien Retention. The automatic stay is modified to allow holders of secured claims to
send the Debtor(s): (i) monthly statements; (ii) escrow statements; (iii) payment change notices; and (iv) such other
routine and customary notices as are sent to borrowers who are not in default. The preceding sentence does not
authorize the sending of any (i) demand letters; (ii) demands for payment; (iii) notices of actual or pending default. The
holder of an Allowed Secured Claim that is proposed to be paid under this Plan shall retain its lien until the earlier of (i) the
payment of the underlying debt as determined under nonbankruptcy law; or (ii) the entry of a discharge under 11 U.S.C. §
1328. The holder of a claim secured by a valid lien may enforce its lien only if the stay is modified under 11 U.S.C. § 362
to allow such enforcement.

13.     Maintenance of Taxes and Insurance. The Debtor(s) must pay all ad valorem property taxes on property that is
proposed to be retained under this Plan, with payment made in accordance with applicable non-bankruptcy law not later
than the last date on which such taxes may be paid without penalty. The Debtor(s) must maintain insurance on all
property that serves to secure a loan and that is proposed to be retained under this Plan, as required by the underlying
loan documents. This Paragraph 13 does not apply to the extent that taxes and insurance are escrowed. Any holder of a
secured claim may request in writing, and the Debtor(s) must promptly provide proof of compliance with this Paragraph. If
the Debtor(s) fail to provide such proof within 30 days of receipt of a written request, the holder of the debt secured by a
lien on the property may purchase such insurance or pay such taxes in accordance with its rights under applicable
non-bankruptcy law. Unless otherwise ordered by the Court, payment under this Paragraph may not be undertaken by a
transfer of the tax lien on the property

14.        Secured Claims Satisfied by Transfer of Real Property in Satisfaction of Secured Claim.

        A.     The secured claims set forth in this table will be satisfied by the transfer of title to the real property from the
      Debtor(s) to the transferee identified below.



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       Priority                     Name and Address of Holder of Security Interest                               Estimated Claim of Lien Holder

 First Lien

 Second Lien

 Third Lien

 Fourth Lien


        B.        The Transferee is                                       .

        C.        The value to be credited to the Transferee’s claim secured by the lien is:

              Value of Property
              Total amounts owed to all holders of senior liens
              Net value to be credited by Transferee

        D.        The address and legal description of the property to be transferred is                                           .

       E.    This Paragraph applies only if 100% of the property to be transferred is included in the estate under 11
    U.S.C. § 541(a), including without limitation community property included in the estate by 11 U.S.C. § 541(a)(2).

        F.        On or after the 30th day following entry of an order confirming this Plan:
        (i) The Debtor(s) shall file as soon as practicable, a Notice of Transfer Pursuant to Bankruptcy Plan in the real
        property records of the County in which the property is located. A Notice of Transfer Pursuant to Bankruptcy Plan
        that attaches a certified copy of this Plan and a certified copy of the Order confirming this Plan shall, when filed with
        a legal description of the property in the real property records of the County in which the property is located,
        constitute a transfer of ownership of the property to the holder of the Secured Claim. The transfer will be effective
        upon the later to occur of (i) the filing of the Notice of Transfer Pursuant to Bankruptcy Plan that attaches a certified
        copy of this Plan and a certified copy of the Order confirming the Plan in the real property records of the applicable
        County; or (ii) if the Order is stayed pending appeal, the termination of the stay.
        (ii) The transferee of the transferred property must credit its claim with the Net Value to be credited by
        Transferee as shown in the preceding table (unless a different amount is ordered by the Court at the confirmation
        hearing on this Plan), not to exceed the balance owed on the claim on the date of the transfer. If the transfer is to
        the holder of a junior lien, the transfer is made subject to all senior liens. The holder of any senior lien may exercise
        its rights in accordance with applicable non-bankruptcy law. If the transfer is to the holder of a senior lien, the
        transfer is free and clear of the rights of the holder of any junior lien.11


      11 The property may not be transferred to the holder of an oversecured senior lien if there is a junior lien.


        (iii) The senior liens must be satisfied, if at all, out of the property in accordance with applicable non-bankruptcy
        law. The transfer to the transferee and the relief granted by this Paragraph are in full satisfaction of the Debtor(s)’
        obligations to any holder of a security interest that is senior in priority to the security interest held by the transferee.
        No further payments by the Debtor(s) are required.
        (iv) The automatic stay is modified to allow any holder of a security interest or other lien on the property to
        exercise all of its rights against the property in accordance with applicable non-bankruptcy law




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Case No:
Debtor(s): Gallegos, Rachel P.

         G.         Notwithstanding the foregoing Section F:
         (i) At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee may
         demand in writing, and the Debtor(s) must execute, a special warranty deed transferring the property to the
         transferee.
         (ii) At its sole election prior to the 30th day following entry of an order confirming this Plan, the transferee may
         elect in writing to foreclose its security interest in the subject property. Any foreclosure must be completed within 90
         days following entry of an order confirming this Plan. This Plan, the order confirming this Plan and a proper election
         hereunder constitute a judicial authorization to proceed to foreclose to the extent required under applicable law. If
         an election is made under this subsection, the transferee shall be responsible for all loss associated with the
         property and all charges, liens, fees, etc. against the property from the 30th day following entry of an order
         confirming this Plan.
         (iii)      If a proper demand is made under this Section G, the provisions of Section F(i) are not applicable

         H.     On and after the date on which the title to the real property (as reflected in the real property records) is not
      held by the Debtor(s), and except as otherwise agreed in writing between the Debtor(s) and the holder of the entity to
      which the property has been transferred, the Debtor(s) will immediately vacate the property.

         I.   The third party costs incurred on behalf of the Debtor(s) to obtain a lien search or title report and to file the
      Notice and certified copies will be borne by the Debtor(s). If such third party costs are advanced by Debtor(s)’ counsel,
      the Debtor(s) must promptly reimburse such costs.

          J.    The Debtor(s) must file a certificate of service at least 7 days prior to Plan confirmation reflecting that a copy
      of this Plan was mailed by both certified mail, return receipt requested and by regular US mail to all of the following,
      with the mailings to have occurred not later than 31 days prior to the hearing on this Plan to:
                 (i) Any attorney representing the holder of any security interest against the property who has filed a request
                 for notice in this bankruptcy case.
                 (ii) The holder of any security interest against the property, in accordance with FED. R. BANKR. P. 7004 and
                 the address for notice shown on any proof of claim filed by a holder. The identities of the holders must be
                 identified from the deeds of trust filed in the real property records.

15.    Secured Claims on Which Lien is Avoided Under 11 U.S.C. § 522(f). To the extent that the property described in
this Paragraph is exempted under 11 U.S.C. § 522(b)(1), the following secured claims are avoided pursuant to 11 U.S.C. §
522(f) of the Bankruptcy Code. The only amount securing any such avoided lien is the lesser of (i) the amount shown as
Remaining Value in this table; and (ii) the amount of the Allowed Claim secured by the lien:

                  Description of Property                   Value of       Amount of Secured Claims         Amount of    Remaining
            Name and Address of Secured Creditor            Property      Senior to Secured Claim to be      Claim as      Value
                                                                                     Avoided                 Exempt


16.      Specially Classified Unsecured Claims. The following unsecured claims will be treated as described below:

                 Name of Unsecured Creditor                            Treatment and Reason for Special Classification


17.   Unsecured Claims. Unsecured creditors not entitled to priority and not specially classified in Paragraph 16 shall
comprise a single class of creditors. Allowed claims under this Paragraph 17 shall be paid a pro rata share of the amount
remaining after payment of all secured, priority, and specially classified unsecured claims.




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Case No:
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18.    Executory Contracts. Except as set forth elsewhere in this Plan or in the following sentence, all executory
contracts are rejected. The following contracts are assumed with the amount and timing of any cure payments as shown:

       Parties to             Amount of Cure             Cure to be Made Directly by the Debtor(s) in equal Monthly Installments of this
       Executory               ($0.00 if none)           Amount, with the First Installment Due on the 30th Day Following Entry of the
        Contract                                                                       Confirmation Order


19.      Asset Sales. The Debtor(s) are authorized—without the need for further Court order (except as provided by FED.
R. BANKR. P. 2014 if applicable)—to sell their exempt property in accordance with this Paragraph. Any such sale shall
provide for the full payment, at closing, of all liens on the property that is sold. If the Debtor(s) request and the Court so
determines, an order confirming this authority may be granted by the Court, ex parte. Within 14 days following the closing
of any sale of real property pursuant to this Paragraph, the Debtor(s) must provide to the Trustee a copy of the final
closing statement. Any non-exempt proceeds received from the sale must be paid to the Trustee. Unless the sale was
privately closed, the closing statement must be the statement issued by the title company or closing agent handling the
sale. If the property that was sold was exempted as a homestead solely under Texas law, any proceeds of the sale that
are not reinvested in a qualifying Texas homestead within 6 months of the closing of the sale must be paid to the Trustee
within 14 days after the expiration of the 6-month period. If only a 15 portion of the proceeds are reinvested in a qualifying
Texas homestead prior to the expiration of the 6-month period, the balance of the proceeds must be paid to the Trustee
within 14 days of the closing.

20.      Surrender of Collateral during the Plan Period.

         A.     The Debtor(s) may surrender collateral to a secured creditor after confirmation of the Plan by filing a
      Surrender Notice in the form set forth on the Court’s website. The Surrender Notice will be effective upon the
      expiration of 21 days from the date that it is filed; provided, if an objection to the Surrender Notice is filed within the
      21-day period, the Surrender Notice will become effective only upon entry of a Court order approving the Surrender
      Notice (the “Effective Date”). If a timely objection is filed, the Trustee will schedule the Surrender Notice for hearing on
      the next available Chapter 13 panel date. On the Effective Date, the automatic stay under 11 U.S.C. § 362(a) and the
      co-debtor stay under 11 U.S.C. § 1301(a) are terminated as to actions against surrendered property. The automatic
      stay is not terminated under this Paragraph as to any other action.

         B.     Bankruptcy Local Rule 6007-1 applies to the surrender of property under this Plan.

         C.     Other than terminating the co-debtor stay, this Plan does not affect any codebtor’s rights in the collateral or
      the obligation of any secured creditor to act with respect to such a co-debtor in compliance with applicable
      non-bankruptcy law.

          D.    If payments on debt secured by the surrendered property were made through the Trustee, a Debtor(s)’
      Proposed Notice of Plan Payment Adjustment, in the form set forth on the Court’s website, must be filed as an exhibit
      to the Surrender Notice. If the Trustee determines that the Debtor’s Proposed Notice of Payment Adjustment is
      materially inconsistent with the following Paragraph, the Trustee must file a Trustee’s Corrected Notice of Plan
      Payment Adjustment. Any such Corrected Notice must be filed within 30 days after the filing of the Debtor(s)’
      Proposed Notice of Plan Adjustment. The Trustee’s Corrected Notice of Plan Payment Adjustment will be binding
      unless a party-in-interest files a motion and obtains an order to the contrary.




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Case No:
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          E.     If the payment on the debt secured by the surrendered property was made through the Trustee, the Plan
      payment will be adjusted. The adjusted payment will be effective with the next payment due to the Trustee after the
      Effective Date. The Plan payment adjustment will be a reduction equal to (i) the sum of (a) all remaining principal,
      interest and escrow payments that are due under this Plan after the Effective Date and payable to the holder of the
      secured debt; plus (b) any Reserves required by Paragraph 23 for the payment of ad valorem taxes pertaining to the
      surrendered property; plus (c) the Posted Chapter 13 trustee fee applicable to the sum of such remaining payments of
      principal, interest, escrow and reserves; divided by (ii) the remaining number of monthly payments due under the Plan
      after the Effective Date. No further ad valorem tax reserves will be established on surrendered property.

         F.     On the Effective Date, no additional direct or Trustee payments will be made on the claim secured by the
      surrendered property. The rights of a secured creditor to a deficiency claim will be determined (i) in accordance with
      the creditor’s allowed unsecured claim in any timely filed proof of claim; or (ii) by separate Court order.

         G.     Within 14 days of the Effective Date, the Debtor(s) must file an amended Schedule I and J.

21.   Payments Under Plan. For the purposes of 11 U.S.C. § 1328(a) of the Bankruptcy Code, the Debtor(s) will have
completed all payments under this Plan by:

         A.    Paying all amounts due under Paragraph 4 of this Plan, as adjusted by this Plan; and

         B.    Paying all amounts due as direct payments under this Plan, as adjusted by this Plan.

22.      Emergency Savings Fund.

          A.    Line 21 of Schedule J (the Debtor(s)’ expense budget) includes a provision for an emergency savings fund
      by the Debtor(s). Deposits into the Emergency Savings Fund will be made to the Trustee. Withdrawals from the
      Emergency Savings Fund may be made by application to the Court, utilizing the form application from the Court’s
      website. Withdrawals should be requested only in an emergency. The form application need only be served
      electronically, and only to persons subscribing to the Court’s CM/ECF electronic noticing system. An application will be
      deemed granted on the 15th day after filing unless (i) an objection has been filed; or (ii) the Court has set a hearing on
      the application. The Debtor(s) may request emergency consideration of any application filed under this Paragraph. The
      balance, if any, in the Emergency Savings Fund will be paid to the Debtor(s) following (i) the completion of all
      payments under this Plan; (ii) the dismissal of this case; or (iii) the conversion of this case to a case under chapter 7,
      except under those circumstances set forth in 11 U.S.C. § 348(f)(2)

         B.    The deposits into the Emergency Savings Fund will be:

  Month of First Deposit of this    Month of Last Deposit of this               Amount                          Total
            Amount                            Amount

                                                                    TOTAL                                                 $0.00


          C.     Funds paid to the Trustee will not be credited to the Emergency Savings Fund unless, at the time of receipt
      by the Trustee, the Debtor(s) are current on payments provided for in the Plan that are to be distributed to creditors or
      that are to be reserved under Paragraph 23. After funds have been credited to the Emergency Savings Fund, they
      may only be withdrawn in accordance with this Paragraph.

         D.      The Debtor(s) may file a Notice reflecting any change into the Emergency Savings Fund deposits. Unless a
      party-in-interest objects within 14 days of the filing of the Notice, the Trustee must file a Notice of Plan Payment
      Adjustment to reflect the change.




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23.   Reserves for Post-Petition Ad Valorem Taxes, Homeowners Association Fees or Other Periodic Post-Petition
Obligations. (Check One or More):

     ✔
     ❑     The Debtor(s) do not invoke this provision.

     ❑     The Debtor(s) will reserve for post-petition ad valorem taxes. The amount of each monthly reserve is
           shown on Schedule 2312.

     ❑     The Debtor(s) will reserve for post-petition homeowners’ association fees. The amount of each monthly
           reserve is shown on Schedule 23.

     ❑     The Debtor(s) will reserve for post-petition federal income tax payments. The amount of each monthly
           reserve is shown on Schedule 23.

     ❑     The Debtor(s) will reserve for:                           .13 The amount of each monthly reserve is shown on
           Schedule 23.


     12 A Schedule 23 must be attached unless no Reserves are established.

     13 Reserves may not be established under this Paragraph for the payment of insurance premiums.


      A.     The Debtor(s)’ expense budget shown on Schedule J includes a monthly provision for the payment of the
   post-petition Reserves identified above. The Debtor(s) must deposit the monthly amount shown on Schedule J for
   each of the designated Reserve items with the Trustee. Not less than 45 days before the date on which the payment is
   due to the taxing authority, homeowner’s association or other person, the Debtor(s) must send a request to the
   Trustee, on a form promulgated by the Trustee, requesting a disbursement from the Reserves. Copies of the
   appropriate invoices or tax statements must be attached to the request. Not later than 45 days after receipt of an
   appropriate request, the Trustee must pay the lesser of (i) the amount shown on the invoices or tax statements; or (ii)
   the balance in the applicable Reserve. If the balance in the applicable Reserve is less than the amount due, then the
   Debtor(s) are responsible for payment of the balance due on the invoice or tax statements. The Chapter 13 Trustee’s
   Fee will apply to any disbursements from the Reserves.

      B.    The Debtor(s) must file a Notice reflecting any change of the projected disbursement amount from the
   applicable Reserve. Unless a party-in-interest objects within 14 days thereafter, the Trustee must file a Notice of Plan
   Payment Adjustment to reflect the change.

       C.    Funds paid to the Trustee will not be credited to Reserves unless, at the time of receipt by the Trustee, the
   Debtor(s) are current on payments provided for in the Plan that are to be distributed to the holders of claims. If the
   monthly amount credited to Reserves is less than the total of all monthly Reserves shown above, the Trustee will apply
   the credits to the Reserves pro rata. After funds have been credited to an applicable Reserve, they may only be
   withdrawn in accordance with this Paragraph.

      D.      If this Plan provides for payment of a “Total Debt Claim” on real property and no lender-established escrow
   account is maintained, the Debtor(s) must establish Reserves under this Paragraph for the payment of ad valorem
   taxes. If the Debtor(s) subsequently surrender the real property, or if the automatic stay is terminated as to the real
   property, the amount of Reserves for taxes on such property will be paid by the Trustee, without further Court Order, to
   the holder of the claim secured by the most senior security interest against the real property.

       E.   Upon completion of all payments under this Plan, the remaining balance on hand in the Reserves will be paid
   to the Debtor(s).



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Case No:
Debtor(s): Gallegos, Rachel P.

24.     Effect of a Motion to Convert to Chapter 7. If, during the term of this Plan, the Debtor(s) file a motion to convert
this case to a case under Chapter 7 of the Bankruptcy Code, the motion may be included with a request to distribute to
Debtor(s)’ counsel the lesser of (i) the amount agreed between the Debtor(s) and Debtor(s)’ counsel; and (ii) $750.00. If a
motion to convert to chapter 7 has been filed and not yet granted by the Court, the Trustee must, within 35 days of the
date on which the motion was filed, distribute any remaining funds (exclusive of Reserves and Emergency Savings
Funds) (i) first to pay any unpaid adequate protection payments due to the holders of secured claims; and (ii) thereafter,
the amount requested (not to exceed $750.00) to Debtor’s counsel for post-conversion services. Any amounts so
distributed are subject to disgorgement if ordered by the Court. A motion to convert filed pursuant to this Paragraph 24
must be filed with a proposed order, in the form published on the Court’s website. The Order, if submitted in accordance
with this Paragraph, may be issued ex parte and without notice.

25.      Presence or Absence of a Proof of Claim.

          A.     Secured and priority claims provided for in this Plan will be paid without the necessity of the filing of a proof
      of claim. If this Plan sets the amount of a monthly payment, monthly payments will be adjusted in accordance with the
      Court’s Home Mortgage Payment Procedures as applied by Paragraphs 8 and 11 of this Plan.

          B.     Unless otherwise ordered by the Court (and subject to the claims objection process), the amounts shown on
      a timely filed proof of claim govern as to (i) the amount of that claim, (ii) the amount of any cure amount; and (iii) the
      amount of any monthly payment, which monthly payment is subject to adjustment in accordance with the Court’s
      Home Mortgage Payment Procedures as applied by Paragraphs 8 and 11 of this Plan.

         C.    Regardless of the filing of a proof of claim, the valuation in this Plan of the collateral securing a claim controls
      over any contrary proof of claim.

          D.   A determination made under this Plan as to a claim does not constitute an order allowing or disallowing a
      claim against the estate for purposes of Rule 3008 or otherwise.

         E.      Unless the Court orders otherwise, no general unsecured claim will be paid unless a proof of claim has been
      timely filed.

         F.    The payment of Debtor(s)’ attorney's fees are not governed by this Paragraph.

         G.   No creditor, before or after completion of the Plan, shall be allowed to collect any payments, costs, fees, or
      expenses, from the Debtor(s), the estate, or their property, that are not provided for in this Plan.

26.    Discharge and Vesting of Property. The Debtor(s) will be granted a discharge in accordance with 11 U.S.C. §
1328. Property of the estate shall vest in the Debtor(s) upon entry of the discharge order.

27.      Effect of Dismissal. If this case is dismissed:

         A.     Except for Paragraph 27(B), this Plan is no longer effective.

         B.     Any funds received by the Trustee after entry of the order of dismissal will be paid to the Debtor(s).

28.     Plan Not Altered from Official Form. By filing this Plan, Debtor(s) and their counsel represent that the Plan is in
the official form authorized by the Court. There are no addenda or other changes made to the official form, except those
contained in Paragraph 29.

29.      Non-standard Provisions.




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Except for provisions contained in Paragraph 29, any provision not contained in the approved Southern District of Texas
Chapter 13 Plan is void. Any provision contained in this Paragraph 29 is void unless Paragraph 1 of this Plan indicates
that a non-standard provision has been included in this Plan.
                                                              Submitted by


                                                             ✘ /s/ Rachel P. Gallegos
                                                                Rachel P. Gallegos
                                                                Debtor Signature

                                                                                   /s/ James Q. Pope
                                                             James Q. Pope
                                                             The Pope Law Firm
                                                             State Bar No.: 24048738
                                                             6161 Savoy Drive 1125
                                                             Houston, TX 77036
                                                             (713) 449-4481 ph.
                                                             jamesp@thepopelawfirm.com

                                  Debtor(s)’ Declaration Pursuant to 28 U.S.C. § 1746
   I declare under penalty of perjury that the foregoing statements of value contained in this document are true and
correct.


Dated:    06/13/2022                          ✘ /s/ Rachel P. Gallegos
                                                  Rachel P. Gallegos
                                                  Signature of Debtor




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Case No:
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                                                    Schedule 23

 Month    Ad Valorem Tax Reserve   HOA Reserve   Federal Income Tax Reserve   Other Reserves   Total Reserves This Month

 1                                                                                                                  $0.00

 2                                                                                                                  $0.00

 3                                                                                                                  $0.00

 4                                                                                                                  $0.00

 5                                                                                                                  $0.00

 6                                                                                                                  $0.00

 7                                                                                                                  $0.00

 8                                                                                                                  $0.00

 9                                                                                                                  $0.00

 10                                                                                                                 $0.00

 11                                                                                                                 $0.00

 12                                                                                                                 $0.00

 13                                                                                                                 $0.00

 14                                                                                                                 $0.00

 15                                                                                                                 $0.00

 16                                                                                                                 $0.00

 17                                                                                                                 $0.00

 18                                                                                                                 $0.00

 19                                                                                                                 $0.00

 20                                                                                                                 $0.00

 21                                                                                                                 $0.00

 22                                                                                                                 $0.00

 23                                                                                                                 $0.00

 24                                                                                                                 $0.00

 25                                                                                                                 $0.00

 26                                                                                                                 $0.00

 27                                                                                                                 $0.00

 28                                                                                                                 $0.00

 29                                                                                                                 $0.00

 30                                                                                                                 $0.00

 31                                                                                                                 $0.00

 32                                                                                                                 $0.00


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Case No:
Debtor(s): Gallegos, Rachel P.


 Month    Ad Valorem Tax Reserve   HOA Reserve   Federal Income Tax Reserve   Other Reserves   Total Reserves This Month

 33                                                                                                                 $0.00

 34                                                                                                                 $0.00

 35                                                                                                                 $0.00

 36                                                                                                                 $0.00

 37                                                                                                                 $0.00

 38                                                                                                                 $0.00

 39                                                                                                                 $0.00

 40                                                                                                                 $0.00

 41                                                                                                                 $0.00

 42                                                                                                                 $0.00

 43                                                                                                                 $0.00

 44                                                                                                                 $0.00

 45                                                                                                                 $0.00

 46                                                                                                                 $0.00

 47                                                                                                                 $0.00

 48                                                                                                                 $0.00

 49                                                                                                                 $0.00

 50                                                                                                                 $0.00

 51                                                                                                                 $0.00

 52                                                                                                                 $0.00

 53                                                                                                                 $0.00

 54                                                                                                                 $0.00

 55                                                                                                                 $0.00

 56                                                                                                                 $0.00

 57                                                                                                                 $0.00

 58                                                                                                                 $0.00

 59                                                                                                                 $0.00

 60                                                                                                                 $0.00




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                                                    Exhibit "A"
                                           Plan Summary for Proposed Plan
                                             Disposable Income and Plan Payments
     (A)              (B)          (C)         (D)      (E)      (F)                         (G)                     (H)               (I)
  Projected        Projected    Projected    Payment Beginning Ending                 Payments for the        Savings Fund 3     Total Monthly
Schedule “I”     Schedule “J” Disposable    Amount to Month #1 Month #               Benefit of Creditors        Deposits           Trustee
   Income          Expenses      Income      Trustee                                 and for Reserves 2      Established Under     Payments
 (From most       (From most (Column A                                                                        Plan (Column D      (Column D
recently filed   recently filed   minus                                                                      minus Column G)     multiplied by
 Schedule I)      Schedule J) Column B)                                                                                           number of
                                                                                                                                 months paid)
 $6,003.32       $1,250.00     $4,753.32    $4,750.00    1               12        Per Month       Total       Per     Total     $57,000.00
                                                                                                              Month

                                                                                  $4,750.00    $57,000.00    $0.00    $0.00

                                            $10,500.00   13              60       $10,500.00   $504,000.00   $0.00    $0.00      $504,000.00

                                                                         Grand                 $561,000.00            $0.00      $561,000.00
                                                                         Total

                                            Less Posted Chapter 13 Trustee                     $33,379.50
                                            Fee 4

                                            Net Available to Creditors                         $527,620.50


                                   Projected Trustee Disbursements to Secured Creditors
Name of Holder                                                  Claim            Plan Int. Monthly Starting Ending                 Total
Description of Collateral                                                          Rate Payment Month # Month #
                                                                                           Amount
 1. Holder’s Name:                                        $416,758.55
 U.S. Bank, NA as Indenture Trustee for VCC
 2020-MC
 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 2210 Briarstone Bluff Crossing Houston, TX
 77089

                                                              ✔Retained (paid through Trustee)5
 Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑


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Case No:
Debtor(s): Gallegos, Rachel P.

Name of Holder                                   Claim      Plan Int. Monthly Starting Ending       Total
Description of Collateral                                     Rate Payment Month # Month #
                                                                      Amount
 Cure Claim
 3002.1(c) Amount
 Monthly Payment
 Total Debt Claim                             $416,758.55   5.00%    Pro-Rata    2       59       $475,624.53
 Monthly Refinance Payment (¶ 8B)

 2. Holder’s Name:                            $4,054.13
 HARRIS COUNTY-BRAZORIA MUD #509


 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 2210 Briarstone Bluff Crossing Houston, TX
 77089

                                                              ✔Retained (paid through Trustee)5
 Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑

 Cure Claim
 3002.1(c) Amount
 Monthly Payment
 Total Debt Claim                             $4,054.13     12.00%   Pro-Rata    2       59         $5,547.53
 Monthly Refinance Payment (¶ 8B)

 3. Holder’s Name:                            $6,981.55
 PASADENA INDEPENDENT SCHOOL
 DISTRICT
 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 2210 Briarstone Bluff Crossing Houston, TX
 77089

                                                              ✔Retained (paid through Trustee)5
 Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑

 Cure Claim
 3002.1(c) Amount
 Monthly Payment



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Case No:
Debtor(s): Gallegos, Rachel P.

Name of Holder                                   Claim      Plan Int. Monthly Starting Ending     Total
Description of Collateral                                     Rate Payment Month # Month #
                                                                      Amount
 Total Debt Claim                             $6,981.55     12.00%   Pro-Rata    2       59       $9,553.31
 Monthly Refinance Payment (¶ 8B)

 4. Holder’s Name:                            $3,317.57
 City of Pearland
 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 2210 Briarstone Bluff Crossing Houston, TX
 77089

                                                              ✔Retained (paid through Trustee)5
 Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑

 Cure Claim
 3002.1(c) Amount
 Monthly Payment
 Total Debt Claim                             $3,317.57     12.00%   Pro-Rata    2       59       $4,539.65
 Monthly Refinance Payment (¶ 8B)

 5. Holder’s Name:                            $7,380.71
 Harris County et al.
 Treated under Plan Section:
 Sec 8A. - Secured Principal Residence
 Description of Collateral
 2210 Briarstone Bluff Crossing Houston, TX
 77089

                                                              ✔Retained (paid through Trustee)5
 Check one: ❑Surrendered ❑Transferred ❑Retained (paid direct) ❑

 Cure Claim
 3002.1(c) Amount
 Monthly Payment
 Total Debt Claim                             $7,380.71     12.00%   Pro-Rata    2       59       $10,110.80
 Monthly Refinance Payment (¶ 8B)




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Case No:
Debtor(s): Gallegos, Rachel P.

Name of Holder                                   Claim        Plan Int. Monthly Starting Ending   Total
Description of Collateral                                       Rate Payment Month # Month #
                                                                        Amount
 6. Holder’s Name:                            $167,308.19
 U.S. Bank, NA as Indenture Trustee for VCC
 2020-MC
 Treated under Plan Section:
 Sec 7. - Secured Claims for which
 Collateral is Surrendered
 Description of Collateral
 7844 Ford St. Houston, TX 77012

            ✔Surrendered ❑Transferred ❑Retained (paid direct) ❑Retained (paid through Trustee)5
 Check one: ❑

 7. Holder’s Name:                            $127,145.28
 U.S. Bank, NA as Indenture Trustee for VCC
 2020-MC
 Treated under Plan Section:
 Sec 7. - Secured Claims for which
 Collateral is Surrendered
 Description of Collateral
 7802 Ford St. Houston, TX 77012

            ✔Surrendered ❑Transferred ❑Retained (paid direct) ❑Retained (paid through Trustee)5
 Check one: ❑

 8. Holder’s Name:                            $1,170.23
 PNC Bank, National Association
 Treated under Plan Section:
 Sec 7. - Secured Claims for which
 Collateral is Surrendered
 Description of Collateral
 Certificate of Deposit

            ✔Surrendered ❑Transferred ❑Retained (paid direct) ❑Retained (paid through Trustee)5
 Check one: ❑

 9. Holder’s Name:                            $857.00
 Internal Revenue Service
 Treated under Plan Section:
 Sec 7. - Secured Claims for which
 Collateral is Surrendered
 Description of Collateral
 Right to Set off




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Case No:
Debtor(s): Gallegos, Rachel P.

Name of Holder                                        Claim      Plan Int. Monthly Starting Ending          Total
Description of Collateral                                          Rate Payment Month # Month #
                                                                           Amount

            ✔Surrendered ❑Transferred ❑Retained (paid direct) ❑Retained (paid through Trustee)5
 Check one: ❑

                                                                Total of Payments to Secured Creditors    $505,375.81



   1     This is the month in which the first payment is due for this amount. The Debtor(s) must commence payments not
         later than 30 days after the petition date.
   2     Reserves are established under Paragraph 23 of the Plan.
   3     Savings funds are funds established under Paragraph 22 of the Plan.
   4     The Posted Chapter 13 Trustee Fee is based on the percentage listed on the Court’s website.
   5     Amounts for Cure Claims, Monthly Payments, Total Debt Claims and Monthly Refinance Payments should be
         listed only if the box for “Retained (paid through Trustee)” is checked.

                               Projected Trustee Disbursements to Priority Creditors
       Name of Holder          Nature of Priority     Claim     Int. Rate    Monthly    Beg.    End          Total
                               (Taxes, Attorneys                             Payment   Month # Month #
                                Fees, DSO, etc.)                             Amount
 1. Holder’s Name:             Attorney Fees        $3,000.00    0.00%      Pro-Rata   1         2          $3,000.00
 The Pope Law Firm
 Treated under Plan Section:
 Sec 6. - Priority Claims
 (Other than Domestic
 Support Obligations)

 2. Holder’s Name:             Taxes or             $3,129.00    0.00%      Pro-Rata   2         59         $3,129.00
 INTERNAL REVENUE              Penalties Owed
 SERVICE                       to Governmental
                               Units
 Treated under Plan Section:
 Sec 6. - Priority Claims
 (Other than Domestic
 Support Obligations)




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Case No:
Debtor(s): Gallegos, Rachel P.

       Name of Holder          Nature of Priority     Claim     Int. Rate    Monthly      Beg.    End          Total
                               (Taxes, Attorneys                             Payment     Month # Month #
                                Fees, DSO, etc.)                             Amount
 3. Holder’s Name:             Attorney Fees        $1,500.00   0.00%       Pro-Rata     1         2          $1,500.00
 The Pope Law Firm -
 ANTICIPATED FEES
 Treated under Plan Section:
 Sec 6. - Priority Claims
 (Other than Domestic
 Support Obligations)

                                                                    Total of Payments to Priority Creditors    $7,629.00


                                          Projected Trustee Reserve Funds
                                         Reserve Fund Type                                                    Total
                                 (Ad Valorem Taxes, Insurance, HOA)
                                                                                Total of Reserve Funds                $0.00




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Case No:
Debtor(s): Gallegos, Rachel P.

                                                       SUMMARY
 1    Total Payments to Trustee                                                                                  $561,000.00
 2    Less Total Savings Fund Deposits                                                                                 $0.00
 3    Net Trustee Payments (Line 1 minus line 2)                                                                 $561,000.00
 4    Less Posted Chapter 13 Trustee Fee                                                                          $33,379.50
 5    Less Total Payments by Trustee to Secured Creditors                                                        $505,375.81
 6    Less Total Payments by Trustee to Priority Creditors (§§507(a)(1) – (a)(10))                                 $7,629.00
 7    Less Total Reserve Funds                                                                                         $0.00
 8    Net Available for General Unsecured Creditors (Line 3 minus lines 4-7)                                      $14,615.69


                                    Unsecured Creditor Distribution Estimate
 9    Estimated Total General Unsecured Claims                                                                     $9,854.78
 10   Forecast % Dividend on General Unsecured Claims (Line 8 divided by line 9)                                    100.00%


                                           Best Interest of Creditors Test
 11   Total Non-Exempt Property                                                                                    $9,298.35
 12   Total Distributions to Administrative, Priority and General Unsecured Creditors (Line 4 plus lines 6        $55,624.19
      plus line 8 plus any direct payments by Debtor(s) under the Plan in satisfaction of prepetition priority
      claims)




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